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                         EXHIBIT A
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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA



   IN RE DIISOCYANATES ANTITRUST
   LITIGATION
                                                   Master Docket Misc. No. 18-1001
   This document relates to:                       MDL No. 2862
   ALL ACTIONS




 PLAINTIFFS’ FIRST REQUEST FOR PRODUCTION OF DOCUMENTS FOR
                      UNSTRUCTURED DATA


         Pursuant to Rules 26 and 34 of the Federal Rules of Civil Procedure, Plaintiffs

hereby request that each Defendant respond separately to each of the following requests

for production of documents (the “Requests”) and produce all responsive documents for

inspection and copying within thirty (30) days.

                                        DEFINITIONS

         The following definitions apply to the Requests:

         1.     “Agreement” means any oral or written contract, arrangement or

understanding, whether formal or informal, between two or more Persons, including all

drafts, versions, modifications, amendments, attachments, exhibits, and appendices.

         2.     “All” includes the collective as well as the singular and means each, any, and

every.

         3.     “Any” means one or more.




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       4.      “Antitrust Regulatory Authority” means, without limitation, any governmental

antitrust regulatory or investigative entity, whether domestic or foreign, including but not

limited to the United States Department of Justice, United States Federal Trade Commission,

the Attorneys Generals of any of the United States, or any grand jury investigation.

       5.      “Class Products” means methylene diphenyl diisocyanate (“MDI”) and

toluene diisocyanate (“TDI”), and all products made, sold, traded or marketed by any

Defendant that contain MDI or TDI, whether in pure form or in any other concentration,

composition, blend or mixture, including systems.

       6.      “Communication” means any oral or written disclosure, transfer, or exchange

of information, thought or opinion, including without limitation e-mails, text messages,

instant messages, voice messages, uploading or downloading of documents on a file-sharing,

hosting or other website, and other electronic communications, and correspondence,

memoranda, reports, presentations, face-to-face conversations and meetings, telephone

conversations or conference calls, negotiations, Agreements, inquiries, understandings, notes,

or recorded information, regardless of whether a party that receives any information, thought

or opinion responds to it.

       7.       “Date” means the exact day, month and year, if ascertainable, or the best

available approximation, including any relationship to other known events.

       8.      “Defendant” means any company, organization, entity or person presently or

subsequently named as a defendant in this action.

       9.      “Document” means the original and all non-identical copies (including

copies that are non-identical by reason of any notation made on them) of all items subject to

discovery under Rule 34 of the Federal Rules of Civil Procedure, including, without



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limitation, Agreements, Communications, e-mails (and all attachments), letters,

correspondence, text messages, instant messages, voice messages, memoranda, facsimiles,

legal pleadings, calendars, diaries, travel records, summaries, records of telephone

conversations, telegrams, notes, reports, price lists, business or strategic plans,

presentations, market studies, forecasts, compilations, notebooks, work papers, graphs,

charts, blueprints, books, pamphlets, brochures, circulars, manuals, instructions, ledgers,

drawings, sketches, photographs, videotapes, audiotapes, film and sound reproductions,

spreadsheets, sales or purchase documentation, advertising and promotional literature,

stored recordings, agendas, attendee lists, minutes or other records of meetings (formal or

informal), all written or graphic records or representations of any kind, and all physical,

mechanical or ESI, and all drafts or partial copies, versions, alterations, modifications,

changes and amendments of any of the foregoing.

       10.     “Electronically Stored Information,” abbreviated as “ESI,” has the same

meaning and scope as provided in the Federal Rules of Civil Procedure and includes,

without limitation:

               a.      structured and unstructured data, as those terms are defined in The

Sedona Conference Glossary: E-Discovery & Digital Information Management, Fourth

Edition, April 2014, available at https://thesedonaconference.org/publications;

               b.      activity listings of electronic mail receipts and/or transmittals;

               c.      output resulting from the use of any software program, including,

without limitation, word processing documents, spreadsheets, database files, charts, graphs

and outlines, electronic mail, text messages (SMS, MMS or TMS), iMessages, Blackberry

Messenger (BBM), AOL Instant Messenger or any other instant or direct messaging



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program, bulletin board programs, operating systems, source code, PRF files, PRC files,

batch files, ASCII files, and all miscellaneous media on which they reside and regardless of

whether the output exists in an active file, a deleted file, or file fragment;

                d.      any and all items stored on computer memories, hard disks, floppy

disks, CD discs, DVD discs, flash drives, thumb drives, memory cards, magnetic tape,

microfiche, or in any other vehicle for digital data storage and/or transmittal, such as, but

not limited to, a mobile device or personal digital assistant (e.g., Blackberry, iPhone, other

brands of smart phones or similar devices) and file folder tabs, and/or containers and labels

appended to, or relating to, any physical storage device associated with each original and/or

copy of all documents requested herein;

                e.      any and all items stored on voice-mail systems, internal or external

websites, company intranet sites, chat rooms and social networking websites (e.g.,

Facebook, LinkedIn, Snap Chat, Whatsapp, and other social websites listed at

http://en.wikipedia.org/wiki/List of social networking websites); and

                f.      any and all data, data compilations, and data analyses.

        11.     “Employee” means, without limitation, any current or former officer,

director, executive, manager, secretary, staff member, messenger, agent, independent

contractor, or other Person who is or was employed or hired by You or any other Defendant.

        12.     “Includes” means includes but is not limited to; “including” means

including but not limited to; and neither should be construed as limiting a Request in any

way.




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        13.    “Meeting” means, without limitation, any assembly, convocation, encounter,

or contemporaneous presence of two or more Persons for any purpose, whether planned or

arranged, scheduled or not.

        14.    “Or” and “and” should be construed so as to require the broadest possible

response. If, for example, a Request calls for information about “A or B” or “A and B,” You

should produce all information about A and all information about B, as well as all

information about both A and B. In other words, “or” and “and” should be read as and/or.

        15.    “Person” means, without limitation, any natural person, corporation,

partnership, limited liability company, proprietorship, joint venture, association,

government entity, group or other form of legal entity.

        16.    “Relating to,” “referring to,” “regarding,” or “with respect to” mean, without

limitation, discussing, describing, reflecting , dealing with, pertaining to, analyzing,

evaluating, estimating, constituting, studying, surveying, projecting, assessing, recording,

summarizing, criticizing, reporting, commenting, or otherwise involving, in whole or in

part.

        17.     “Trade Association” means any formal or informal association, group,

marketing entity, or organization of merchants or business firms, including any board, sub-

group, executive committee, steering committee, or other committee, or working group

thereof, including but not limited to: International Isocyanates Institute (“III”); American

Chemistry Council (“ACC”) or its board or executive committee; Diisocyanates Panel or

Diisocyanates Panel Business Managers group; Center for the Polyurethanes Industry

(“CPI”) or CPI Steering Committee; European Diisocyanate and Polyol Producers




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Association (“ISOPA”); Polyisocyanate Insulation Manufacturers’ Association (“PIMA”);

or Spray Polyurethane Foam Alliance (“SPFA”).

       18.     “Urethanes” means the Class Products and all other isocyanates, all polyols,

including polyester and polyether polyols, and all related polyurethanes and polyurethane

systems.

       19.     “Urethane Raw Materials” means all chemicals used as a raw material in the

process of making any Urethane, including but not limited to aliphatic diacids or esters,

aromatic diacids, esters or anhydrides, caprolactone, polyhydric alcohols, aniline,

formaldehyde, diphenylmethane diamine, phosgene, glycol, propylene oxide, ethylene

oxide, butylene oxide, amines, tetrahydrofuran, toluene, and benzene.

       20.     “Urethane Intermediates” means any chemical, additive, modifier, filler,

extender, stabilizer, surfactant, blowing agent, monomer, oligomer (including any urethane

oligomer) or polymer or other material, other than a Urethane Raw Material, that is formed

during or utilized in any way in the manufacturing process of a Urethane, regardless of

whether it is ultimately incorporated into or becomes a part of the Urethane.

       21.     “You,” “Your,” or “Your Company” means the Defendant responding to the

Requests, its predecessors, successors, subsidiaries, departments, divisions, joint ventures,

and/or affiliates, including without limitation any organization or entity which the

responding Defendant currently owns (including any beneficial ownership), manages or

controls, or has in the past owned (including any beneficial ownership), managed or

controlled, together with all present and former directors, officers, Employees, agents,

representatives or other Persons acting or purporting to act on behalf of the responding

Defendant.



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                                      INSTRUCTIONS

       1.      Responsive Documents previously produced pursuant to the Court’s Order

(Dkt. No.149) to Plaintiffs do not need to be produced again.

       2.      Unless otherwise specified, the relevant time period for the Requests is

January 1, 2014, through the present. The Requests seek all responsive Documents created

or generated during the relevant time period, as well as responsive Documents created or

generated outside the relevant time period but containing information relating to the

relevant time period.

       3.      Pursuant to Rule 26(e) of the Federal Rules of Civil Procedure, these

Requests are continuing in nature, so that if You subsequently discover or obtain

possession, custody or control of any Documents or ESI previously requested or required

to be produced, You shall make such Documents or ESI available within seven (7) days of

discovering or obtaining possession of them. Similarly, any information or Documents

provided in response to these Requests that is later found to be incorrect, or to have

become incomplete or incorrect because of changed circumstances, should be completed

or corrected by means of a supplemental response.

       4.      Provide a complete written answer to each of the Requests.

       5.      In producing Documents, furnish all Documents in Your possession,

custody or control, regardless of the physical location of the Documents, or whether You

physically possess such Documents.

       6.      Pursuant to Rule 34(b) of the Federal Rules of Civil Procedure, all

Documents shall be produced in the same order as You keep or maintain them in the



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ordinary course of Your business. For any Document that has been removed from a file for

purposes of producing the Document in response to these Requests, identify the file from

which the Document was removed.

       7.      All Documents shall be produced in the file folder, envelope or other

container in which the Documents are kept or maintained. If for any reason the container

cannot be produced, produce copies of all labels or other identifying marks on the

container.

       8.      Documents shall be produced in such fashion as to identify Your

department, branch or office having possession, custody or control of the Documents and,

where applicable, the Person in whose possession, custody or control they were found and

the business address of each such Person.

       9.      Documents attached to one another should not be separated. If any portion

of a Document is responsive to any portion of a Requests, then the entire Document shall

be produced, including any hard-copy version of the Document attached to hard-copy

printouts of responsive e-mails.

       10.     If a Document is lost or missing, has been destroyed, or is otherwise

unavailable, You should provide information sufficient to identify the Document and

explain the circumstances surrounding the disposition of the Document, including the

following:

               a.     explain why the Document is unavailable, specifying how the

Document was lost, missing or destroyed, or otherwise became unavailable;

               b.     for any Document that has been destroyed, identify all Persons who



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were involved in making or effecting the decision to destroy the Document;

               c.      for any Document that has been transferred or delivered, voluntarily or

involuntarily, to another Person or entity, identify all Persons who were involved in making

or effecting the decision to transfer or deliver the Document;

               d.      the identity of the Person or entity that last possessed the Document;

               e.      the date of the Document’s disposition; and

               f.      the identity of all Persons who have or had knowledge of the

Document’s contents.

       11.     If You object to any of these Requests, or any definition or instruction

incorporated therein, state the reasons for Your objection with specificity and answer the

Request to the extent it is not objectionable. The attorney making an objection shall sign

that objection. If You file a timely objection to any portion of a Request, definition, or

instruction, respond to the remaining portion.

       12.     If You refuse to respond to a Request, in whole or part, or refuse to produce

all or any part of a Document for inspection and copying, for any reason, including any

claim of privilege or other protection, (1) produce the Document if it contains any non-

privileged content with only the purportedly privileged or otherwise protected portion

redacted, and (2) clearly describe the asserted privilege or other reason for refusing to

respond or produce, describing in detail facts sufficient for the Court to determine whether

the claim of privilege or other protection is valid. In particular, for each Document:

               a.      state the date;

               b.      identify the author(s);




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               c.      identify all Persons who received copies;

               d.      state the title, if any;

               e.      state the type (e.g., email, report, agreement, etc.);

               f.      describe the general subject matter (without revealing privileged or

otherwise protected information);

               g.      identify all Persons who have possession, custody, or control;

               h.      identify all Persons who are attorneys or counsel for Your Company,

whether they are in-house or external counsel, and state whether they hold or have held any

non-attorney positions at Your Company, and, if so, the time period they have held those

positions;

               i.      describe the present location; and

               j.      state the paragraph(s) of the Requests to which the Document is

responsive.

       13.     Produce all Documents not otherwise responsive to the Requests that

mention, discuss, refer to, or explain any responsive Documents that are attached to the

responsive Document (e.g., routing slip, transmittal memorandum, cover sheet, etc.).

       14.     Do not separate Documents that are attached to each other, including hard-

copy versions of Documents attached to hard-copy printouts of e-mails.

       15.     In responding to the Requests, include all Documents: (a) obtained from

witnesses who gave information to any governmental agency or investigatory body; (b)

constitute, or refer or relate to, summaries of testimony or other statements in connection

with any governmental agency’s proceeding or investigation; or (c) obtained on Your




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behalf by counsel in preparing for testimony or interviews before any governmental

agency or investigatory body.

       16.      Unless otherwise agreed, all ESI should be produced in native format on

compact disc(s), DVD disc(s) or zip drives in the original electronic file format(s) of the

Documents.

       17.      Documents shall be produced in their entirety without deletion or redaction,

except as provided in Instruction No. 12, regardless of whether You maintain only part of

a Document to be responsive to the Requests. If You redact any portion of a Document,

print or stamp “REDACTED” on each page of the Document which You have redacted.

       18.      All Documents produced in paper form should be Bates-numbered

sequentially, with a unique number on each page having a prefix that identifies the party

producing the Document.

                                DOCUMENT REQUESTS

Request No. l

       To the extent not already produced to Plaintiffs in this action, all Documents

produced in response to or relating to, any investigation by any Antitrust Regulatory

Authority of the market for any of the Class Products in the United States or anywhere

else. This Request includes, but is not limited to, investigative demands or requests,

written responses to any investigative demands or requests, documents produced in

response to any investigative demands or requests, subpoenas, written responses to any

subpoenas, documents produced in response to any subpoenas, deposition transcripts,

interview notes or transcriptions, other notes, correspondence, emails, and summaries.


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Request No. 2

          Organizational charts or other Documents sufficient to show the organization and

structure of Your Company, including any divisions, departments, units or other

subdivisions that had any role or responsibility relating to the production, manufacture,

distribution, marketing, pricing, purchase or sale of Urethanes anywhere in the world,

and to describe the function of each.

Request No. 3

          Organizational charts or other Documents sufficient to identify the Employees or

Persons in Your Company who had any role or responsibility relating to the production,

manufacture, distribution, marketing, pricing, purchase or sale of Urethanes anywhere in

the world, and the positions, responsibilities, and authority held by each.

Request No. 4

          All Documents relating to prices or pricing of Class Products by You or any other

Defendant or entity that has produced, distributed, sold, purchased, or marketed Class

Products in the United States, including without limitation Documents relating to the

methods, practices, policies, or strategies for determining, setting, adjusting, or negotiating

prices.

Request No. 5

          All Documents relating to any considered or actual price increases or price changes

for Class Products by You or any other Defendant, or by any other Person who sells,

produces, or manufactures Class Products.




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Request No. 6

       All Documents relating to the announcement, publication or other Communication of

Your, any other Defendant’s, or any other Person’s prices for Class Products to either

customers or other Defendants, including without limitation price lists, price schedules,

emails, letters, or press releases, and any Documents relating to announcements through

news media or listservs, including without limitation ICIS or ICIS News, PU Daily, the

“Urethane Blog,” Everchem Specialty News, feedblitz, newsedge, Trade Association

publications, or other services through which price announcements for You or another

Defendant or other Person were published, circulated or received.

Request No. 7

       All Documents relating to the announcement, publication or other Communication of

Your, any other Defendant’s, or any other Person’s capacity, production, supply, or

availability of Class Products to either customers or other Defendants, including any

schedules, force majeure declarations or notifications, emails, letters, press releases,

correspondence announcing capacity, production, supply, or availability actions, changes, or

events, including but not limited to any Documents relating to announcements through news

media or listservs, such as ICIS or ICIS News, PU Daily, the “Urethane Blog,” Everchem

Specialty News, feedblitz, newsedge, Trade Associations, or other services through which

announcements for You or another Defendant or other Person were published, circulated or

received.

Request No. 8

       All Documents relating to costs of Urethane Raw Materials or other cost components




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for production, distribution, transportation and sales of Class Products, including without

limitation Documents that show the breakdown of costs for Class Products, and Documents

relating to each component cost’s share of total production, distribution, transportation and

sales costs.

Request No. 9

        All Documents relating to actual or estimated production capacity and capacity

utilization for Class Products sold, distributed or marketed anywhere in the world by You,

any other Defendant, or any other Person, producer or seller of Class Products, or by the

industry as a whole, including without limitation any Documents relating to:

               a.      any permanent closures of plants or other facilities used at any time to

                       produce any Class Products;

               b.      any temporary closures of plants or other facilities used at any time to

                       produce any Class Products;

               c.      any reductions in the utilization of plants or other facilities used at any

                       time to produce any Class Products;

               d.      any declarations of a force majeure;

               e.      any other temporary or permanent reductions, shutdowns, downtime,

                       outages, or turnarounds, affecting the supply or distribution of any

                       Class Products;

               f.      the reason for each of the events listed above;

               g.      the date the decision was made to implement each of the events listed

                       above;



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               h.     the date each of the events listed above began;

               i.     the date the decision was made to end each of the events listed above;

               j.     the date each of the events listed above ended;

               k.     the date and method by which each of the events was announced to

                      any customer, any other Defendant, any other producer or sellers, or

                      any other Person;

               l.     whether the reason for the event was planned or unplanned;

               m.     any decisions to extend the time originally announced for completion

                      of each of the events listed above, and any announcement of any such

                      extension; and

               n.     the identity and role of all Employees or other Persons involved in

                      making any decisions regarding the beginning, extension, or end of

                      each of the events listed above.

Request No. 10

       All Documents relating to demand for Class Products produced, sold or marketed by

You, any other Defendant, or any other producer or seller, and for the industry as a whole,

including Documents relating to any determinants of demand.

Request No. 11

       All Documents relating to the interchangeability or commodity nature of Class

Products, including the interchangeability of Class Products produced or sold by any

Defendant, or by any other Defendant or any other producer or seller.




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Request No. 12

       All Documents relating to Your direct purchaser customers or the direct purchaser

customers of any other Defendant or other producer, distributor, supplier, or seller of Class

Products in the United States, including Documents sufficient to show the identity of these

customers and their uses of Class Products.

Request No. 13

       All Documents relating to the categories, classes, types, grades, characteristics, or

uses of Class Products that You or any other Defendant or other Person have produced,

marketed, sold, or distributed in the United States, including any product tables or databases

that identify any characteristics, classes, types, grades, categories, or uses by product number

and any that cross-reference corresponding product characteristics, classes, types, grades,

categories, or uses or numbers of any other Defendants or other producers or suppliers.

Request No. 14

       All Documents relating to any contemplated, planned, pending or executed asset or

stock purchases, sales, exchanges, acquisitions, mergers, joint ventures, divestitures,

transfers, spinoffs or any other change in Your ownership or that of any of Your subsidiaries,

departments, divisions or other units or other subdivisions, or any related entities relating to

production, manufacture, distribution, marketing, pricing, sale or resale of Class Products,

including any other Defendant or any other seller, producer or manufacturer of Urethanes,

Urethane Raw Materials or Urethane Intermediates.

Request No. 15

       Documents sufficient to identify each of the geographic regions, territories or markets



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You differentiate or define for the purpose of producing, manufacturing, distributing,

marketing, selling, reselling, swapping or supplying any Class Products.

Request No. 16

       Documents sufficient to show the source, location, custody, and disposition (if

applicable) of Documents produced in response to any of the Requests.

Request No. 17

       All Documents relating to any Meeting or Communication between You and any

other Defendant or other Person that manufactures Class Products, whether formal or

informal, and for any business, social, or other purpose.

Request No. 18

       All Documents relating to any Trade Association Meetings (including committees or

subcommittees, boards, executive committees, steering committees or working groups)

relating to Class Products that You attended. This request includes Documents sufficient to

identify Employees from Your Company who attended, the dates of attendance, and the

subject matters discussed at the Meeting or in any Communications between those

Employees and any Employee or other agent of another Defendant relating to Class Products.

Request No. 19

       For each Person You and Plaintiffs agree upon as a Document custodian, or any other

Person the Court orders You to collect and produce Documents from, produce the following:

       a. The Person’s electronic or hard copy diaries, calendars, appointment books,
          notebooks, to-do lists, Day Timers, day planners or appointment notes;

       b. The Person’s contact information maintained in Microsoft Outlook, similar
          programs, Rolodex cards, or any other format, for any Person who is or was an



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           owner, employee, consultant, officer, board member, representative, or agent of
           another Defendant;

       c. The Person’s trip and travel logs, records, expenses or expense reports or
          summaries, entertainment reports, receipts, or other supporting Documents;

       d. Bills, statements, records, and supporting Documents concerning local, long
          distance, and cellular telephone calls by or to the Person, including calls made
          using telephones not paid for by You (such as home office, fax, and personal
          telephone numbers, personal cellphones, and temporary pay-as-you-go
          cellphones) if such telephones were used for business purposes;

       e. Documents relating to the Person’s membership in any Trade Association or
          industry group or attendance at any industry meeting or industry conference;

       f. A copy of the Person’s most recently created resume or curriculum vitae (CV);

       g. Copies of any transcripts or recordings of the Person’s prior testimony relating to
          pricing, supplies, sales, purchases or competitive conditions in the market for
          Urethanes, such as testimony at a deposition, trial, or public hearing; and

       h. Documents sufficient to show the Person’s complete contact information,
          including all phone numbers, social media names or “handles,” text ids, and email
          addresses used by the Person for any business purposes, even if only sparingly.

Request No. 20

       All Documents relating to any swaps, exchanges, purchases or sales between You and

any other Defendant or other producer of Class Products of Class Products, Urethanes,

Urethane Raw Materials, or Urethane Intermediates, including any contracts, purchase or

sale Agreements, invoices, receipts, emails, or other documentation relating to the price of or

the terms by which Class Products were swapped, exchanged, sold or purchased, including

any drafts thereof.

Request No. 21

       All Documents relating to Communications between You and Your customers related

to the pricing, purchase, or sale of Class Products by You, any other Defendant, or any other



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Person who sells or manufactures Class Products, including but not limited to any

Documents in which a customer disagrees with, questions, complains about, or challenges

the price or the availability of Class Products.

Request No. 22

       All Documents relating to any data or information regarding price, capacity,

production, supply, demand, customers, imports or exports, sales or purchases of Class

Products submitted to or received from any Trade Association or any data or statistics

aggregating any service or program by You or any other Defendant or manufacturer, seller,

or producer of Class Products. This Request includes but is not limited to data or

information submitted to or received from ICIS, ACC, PIPS, or any other Trade Association

or entity that collects or aggregates data or information related to Class Products.

Request No. 23

       Documents sufficient to show Your policies or practices directed toward compliance

with antitrust laws, including but not limited to all written policies, presentations to

employees, forms (such as forms to document a competitor meeting or agenda), and

statements signed by Your Employees acknowledging their receipt of or compliance with

Your antitrust compliance policies or guidelines.

Request No. 24

       Documents sufficient to show Your actual or estimated percentage of share of

industry production, capacity, sales or shipments of Class Products.

Request No. 25

       For BASF, all Documents of the kind listed on Exhibit A, and all similar Documents.



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Request No. 26

       For Covestro, all Documents of the kind listed on Exhibit B, and all similar

Documents.

Request No. 27

       For Dow, all Documents of the kind listed on Exhibit C, and all similar Documents.

Request No. 28

       For Huntsman, all versions of Documents of the kind listed on Exhibit D, and all

similar Documents.

Request No. 29

       For Wanhua, all versions of Documents of the kind listed on Exhibit E, and all

similar Documents.

Request No. 30

       All documents relating to any of the current or future named representatives of the

putative class.


DATED: January 30, 2020                              HARTLEY LLP


                                                  By: s/ Jason S. Hartley
                                                      Jason S. Hartley
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                                            EXHIBIT A
                                      BASF Documents


   File Name (As Produced) or Other Title                  Sample Bates Nos.
   "[] MDI Price Increases.xls"                            BC-0030907 (MDI,
                                                           TDI, and Polyol); BC-
                                                           0035128 (MDI, TDI,
                                                           Polyol); BC-0039038
                                                           (MDI, TDI, Polyol)
   "Tracking Price Increases.xls"                          BC-0030907 (MDI,
                                                           TDI, and Polyol); BC-
                                                           0035128 (MDI, TDI,
                                                           Polyol); BC-0039038
                                                           (MDI, TDI, Polyol)
   “[]Isocyanates Market Update and Pricing Proposal” or   BC-0023820
   Title “Monthly Isocyanates Overview.”
   “CM Divisional Meeting Report”                          BC-0012904
   “BASF PU Competitive Prices[].xlsx”                     BC-0000143
   “BASF PU Sales Forecast [].xlsx                         BC-0000179
   "Clearance Meeting [].pptx"                             BC-0015333
   “CMM_SC_[].pptx” or CMM Strategy (Deep Dive NA)         BC-0012504
   “[]Isocyanates Pricing Analysis”                        BC-0037590
   BASF Monomers, CM Operational Plan                      BC-0022302
   “Supply Agreement” or “Emergency Supply Agreement”      BC-0000767
   “[]Exchange Agreement”                                  BC-0024696
   “Product Exchange Agreement”                            BC-0003996
   “PMDI 2016 vs 2015.xls”                                 BC-0037276
   “Iso Scorecard.xlsx”                                    BC-0030215




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                                            EXHIBIT B
                                    Covestro Documents


   File Name (As Produced) or Other Title        Sample Bates Nos.
   “MDI Shutdown Schedule Industry []”           COV000000395
   “TDI Industry Shutdown Schedule []”           COV000095958
   "Info Request Shutdown Schedule"              COV000085901
   "MDI World Shutdown Schedule []"              COV000000399
   “3_Manufacturing costs per                    COV000108315
   plant_PeriodicUnitPrice_MDI.xlsb”
   4_Manufacturing costs per                     COV000108316
   plant_PeriodicUnitPrice_TDI.xlsb”
   5_Manufacturing costs per                     COV000108317
   plant_PeriodicUnitPrice_Raw_Materials.xlsb
   “Product Supply Contract”                     COV0000000053
   “NAFTA PUR Price Increases”                   COV000034321
   "Workbook Competitor strategy view MDI        COV000009380
   [].xlsx"
   MDI [or                                       COV000011266
   TDI]_Supply_Competitor_strategy_view_
   [].xlsx”
   "RE: MDI / TDI competitor strategy view"      COV000011990
   “[] PUR Business Report.pptx”                 COV000008143
   “Competitor Research.docx”                    COV000167247




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                                            EXHIBIT C
                                       Dow Documents


   File Name (As Produced) or Other Title            Sample Bates Nos.
   "Monthly Sales Report [].docx"                    DOW-000084249
   []Prices.xlsx”                                    DOW-000006416
   "Price Increase Implementation.xlsx"              DOW-000008709
   Price Increase Implementation NAA (Oct            DOW-000040296
   2016).xlsx
   "2017 PU Raw Material Price Increases.xlsx"       DOW-000228832
   "[] MDI AUR.xlsx”                                 DOW-000082784
   “Competitor Meeting Agenda Form”                  DOW-000244008
   “Total Cost Production YOY(LB) - ALL [].xlsx”     DOW-000034935
   Product Exchange or Swap Agreement or             DOW-000211834
   International MDI [or TDI] Swap Agreement
   “MDI Outages []”                                  DOW-000006585




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                                            EXHIBIT D
                                    Huntsman Documents


   File Name (As Produced) or Other Title               Sample Bates Nos.
   “DS Competitors Analysis [].pptx”                    HTN-00016719
   Huntsman Product Exchange Agreement                  HTN-00082791
   PU Americas Update
   Production and Capacity Charts (unnamed Excel)       HTN-00016479
   Polyol Price Increase - Customer List 09122017.xls   HTN-00016183
   MDI pricing tracker 2-10-2018.pdf                    HTN-00016279
   [] SOP GLT Update [].pptx                            HTN-00016922
   “MDI [or TDI] Capacity Review [].xlsx”               HTN-00020245




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                                            EXHIBIT E
                                     Wanhua Documents


   File Name (As Produced) or Other Title               Sample Bates Nos.
   “Top Priority List.xlsx”                             WCA_CIV-000063305
   “万华化学（美国）有限公司[2016]年经营分析报告”                          WCA_CIV-000086246
   Erling Weekly Report                                 WCA_CIV-000056312
   Erling Monthly Report                                WCA_CIV-000062070
   Erling Price Chart                                   WCA_CIV-00000849
   Global Sales Report                                  WCA_CIV-000021030
   North America Sales and Forecast                     WCA_CIV-000041166
   “Product Comparison Guide Isocyanates.xls”           WCA_CIV-000080484
   “Swap Agreement”                                     WCA_CIV-000070916
   Visit Reports                                        WCA_CIV-000088776




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                                     CERTIFICATE OF SERVICE
       I hereby certify that on January 30, 2020, a copy of the foregoing document was served via U.S.

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